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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      20-3049
                                             )
EDWARD FOX                                   )               Chapter: 7
                                             )
                                                             Honorable Jack Schmetterer
                                             )
                                             )
               Debtor(s)                     )
   ORDER APPROVING SALE OF THE REAL PROPERTY FREE AND CLEAR OF ALL
      LIENS, CLAIMS AND ENCUMBRANCES AND FOR SHORTENED NOTICE

        THIS CAUSE COMING ON TO BE HEARD on David R. Herzog, Chapter 7 Trustee's Motion
to Approve Sale of the Real Property and for Shortened Notice, due and proper notice having been
served, this Court having jurisdiction over the parties and subject matter and being, otherwise, fully
advised in the premises:

   IT IS HEREBY ORDERED THAT:

    1. Notice pursuant to Bankruptcy Rule 2002 is shortened to nineteen (19) days for cause shown.
    2. Pursuant to 11 U.S.C. § 363(b)(1) and (f), the Trustee's is authorized to sell the real property
located at 751 Saddle Ridge Circle, Granby, Colorado (the "Saddle Ridge Property"), pursuant to 11
U.S.C. § 363(b) and (f), to R46PY LLC, and or its assignees, for $1,927.38 free and clear of all liens,
claims and encumbrances, with the exception of real estate taxes and association dues, if any, in
accordance with the Sale Agreement for Property executed January 4, 2020.
    3. Pursuant to 11 U.S.C. § 363(b)(1) and (f), the Trustee's is authorized to sell the real property
located at 1785 Mountain Sky Lane, Granby, Colorado (the "Mountain Sky Property"), pursuant to 11
U.S.C. § 363(b) and (f), to R46PY LLC, and or its assignees, for $2,087.43 free and clear of all liens,
claims and encumbrances, with the exception of real estate taxes and association dues, if any, in
accordance with the Sale Agreement for Property executed January 4, 2020.
    4. The Trustee is authorized to take all actions and execute all documents, directions to convey,
deeds, and all other similar instruments, documents, forms and papers necessary or appropriate to
implement and effectuate the transaction contemplated herein to sell, transfer and convey the Saddle
Ridge Property and the Mountain Sky Property to R46PY LLC.
   5. The Debtor, Edward Fox, is directed to take all actions and execute all documents, directions to
convey, deeds, and all other similar instruments, documents, forms and papers necessary or appropriate
to implement and effectuate the transaction contemplated herein to sell, transfer and convey the Saddle
Ridge Property and the Mountain Sky Property to R46PY LLC.
  6. The fourteen day stay of enforcement under the Federal Rules of Bankruptcy Procedure Rule
6004(h) is hereby waived and this Order shall be effective and enforceable immediately upon entry
hereof.

                                                         Enter:


                                                                  Honorable Jack B. Schmetterer
Dated: August 25, 2020                                            United States Bankruptcy Judge
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